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 5
 6                         UNITED STATES DISTRICT COURT
 7                        WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE

 9
    UNITED STATES OF AMERICA, )
10                               )
                Plaintiff,       )               CASE NO.      CR07-132 RSL
11                               )
           v.                    )
12                               )
                                 )               DETENTION ORDER
13 DENNIS NARAIN,                )
                                 )
14              Defendant.       )
   ______________________________)
15
     Offense charged:
16
               Count I:     Conspiracy to Manufacture Marijuana, in violation of Title 21,
17
                            United States Code, Section 812.
18
     Dates of Detention Hearings: April 16, 24, and 27.
19
               The Court, having conducted both a bond revocation and a detention hearing
20
     pursuant to Title 18 U.S.C. § 3142(f), and based upon the factual findings and statement of
21
     reasons for detention hereafter set forth, finds that no condition or combination of
22
     conditions which the defendant can meet will reasonably assure the appearance of the
23
     defendant as required and the safety of any other person and the community. The
24
     Government was represented by Sarah Vogel. The defendant was represented by Robert
25
     Huff.
26


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 1          The Government argued for detention at today’s hearing, having previously
 2 withdrawn their motion for detention.
 3       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4          (1)    There is probable cause to believe the defendant committed the
 5                 conspiracy drug offense. The maximum penalty is in excess of ten years.
 6                 There is therefore a rebuttable presumption against the defendant’s
 7                 release based upon both dangerousness and flight risk under Title 18
 8                 U.S.C. § 3142(e).
 9          (2)    Nothing in this record satisfactorily rebuts the presumption against
10                 release for several reasons:
11                 (a)    The defendant presents a risk of nonappearance due to the
12                        following: He is a naturalized citizen, having been born in
13                        Suriname; his background and ties to the Western District of
14                        Washington appear to be isolated to those persons involved in this
15                        investigation, principally his wife who is a co-defendant.
16                 (b)    The defendant presents a risk of flight. First, on April 26, while
17                        wearing the required GPS tracking device, he admits to having
18                        promptly left his residence, even after instruction on the
19                        requirements of the bond condition at his home just one hour
20                        earlier by a U.S. Pre-trial Services officer. At today’s hearing,
21                        after admitting this violation, he did not proffer mitigation nor
22                        credible reasons for his flight and disregard of the condition, but
23                        suggested there had been a slight language barrier. Later in the
24                        hearing defense counsel conceded that his argument of a language
25                        barrier was not truly being urged as a credible reason. Second, at
26                        the April 24 hearing, the defendant represented to this Court that

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 1                          he was employed by Boeing, however, at today’s hearing the
 2                          Court learned that such employment was terminated today.
 3                   (c)    Third, since the first hearing, as part of the Court’s consideration
 4                          of whether he could make any bail as urged by the Government,
 5                          his knowledge of which accounts he deposits his payroll check
 6                          deflected any responsibility. But rather, he deferred to his wife
 7                          who is the central figure in the instant case charging conspiracy to
 8                          manufacture marijuana and conspiracy to launder money by the
 9                          structuring of sums in excess of $200,000.00. Seizure of thirty-
10                          five bank accounts attributed to the defendant and the co-
11                          defendants yielded over $200,000.00, with a deposit history
12                          suggesting structuring of deposits to avoid reporting requirements.
13                          The magnitude of this alleged conspiracy strongly suggests that
14                          access to money to successfully flee this jurisdiction makes it
15                          reasonable to conclude that this defendant poses a risk of flight.
16   Based upon the foregoing information which is consistent with the recommendation of
17   U.S. Pre-trial Services, it appears that there is no condition or combination of conditions
18   that would reasonably assure future Court appearances and/or the safety of other persons
19   or the community.
20
21            It is therefore ORDERED:
22            (l)    The defendant shall be detained pending trial and committed to the
23                   custody of the Attorney General for confinement in a correction facility
24                   separate, to the extent practicable, from persons awaiting or serving
25                   sentences or being held in custody pending appeal;
26            (2)    The defendant shall be afforded reasonable opportunity for private

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 1               consultation with counsel;
 2         (3)   On order of a court of the United States or on request of an attorney for
 3               the Government, the person in charge of the corrections facility in which
 4               the defendant is confined shall deliver the defendant to a United States
 5               Marshal for the purpose of an appearance in connection with a court
 6               proceeding; and
 7         (4)   The clerk shall direct copies of this order to counsel for the United
 8               States, to counsel for the defendant, to the United States Marshal, and to
 9               the United States Pretrial Services Officer.
10         DATED this 2nd day of May, 2007.



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13                                                  MONICA J. BENTON
                                                    United States Magistrate Judge
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